Case 1:23-mi-99999-UNA Document 85-1 Filed 01/10/23 Page 1 of 4




          EXHIBIT A
                   FMLA Letter
           Case 1:23-mi-99999-UNA Document 85-1 Filed 01/10/23 Page 2 of 4




 •, athenahea Ith
February 18, 2022


Jada Taylor
     Manor Ct SW
Atlanta, GA 30331



foreverjadataylor@gmail.com
Re: Leave Number 5475314
Dear Jada Taylor:
I’m Lee Segno, Integrated Claims Examiner and I have completed a review of your leave documentation for
your own health condition.
Designation/Determination Information

Because your leave will be unscheduled, it is not possible to provide the hours, days, or weeks that will be
counted against your FMLA entitlement at this time. You have the right to request this information once in a
30-day period, if leave was taken in the respective 30-day period.
For the duration of this leave to date, the following number of weeks will be counted against your FMLA
leave entitlement: 0.63 weeks. Additionally, below is a listing of the absences that you have taken during the
last 8 weeks and their designation under federal, state, or employer-authorized policies:
You are approved for the following:
 Intermittent 01/28/2022 for 8.00 hours: Family and Medical Leave Act - Approved
Intermittent 01/31/2022 for 4.92 hours: Family and Medical Leave Act - Approved
Intermittent 02/02/2022 for 1.53 hours: Family and Medical Leave Act - Approved
Intermittent 02/03/2022 for 4.50 hours: Family and Medical Leave Act - Approved
Intermittent 02/04/2022 for 3.08 hours: Family and Medical Leave Act - Approved
Intermittent 02/14/2022 for 3.00 hours: Family and Medical Leave Act - Approved
Based on the most recently received medical certification, the estimated frequency and duration for
intermittent absences related to this condition are as follows:

     • Absence for medical treatment: None certified
     • Absence due to incapacity: Frequency of 5 events per 1 Week(s), Duration of 8 Hour(s) per event
Certification Information
Your certification is valid from 01/28/2022 through 07/27/2022.
Need To Extend Your Leave?

If you’re returning to work on a different date than your scheduled return to work date, make sure to

     • Contact me by phone at 877-315-9838, Extension 40324 or email at lee.segno@matrixcos.com and
       let me know what is going on.
       Submit a new CHCP form at least 2 business days prior to the effective date of any such changes.
           Case 1:23-mi-99999-UNA Document 85-1 Filed 01/10/23 Page 3 of 4


     • Submit a new CHCP form at least 2 business days prior to the effective date of any such changes.
If your leave is greater than 60 calendar days, you may be required to furnish me with periodic reports of
your status and intent to return to work.
Keep in mind – Failure to provide additional supporting documentation in a timely manner to extend
your leave may result in a delay of the claim extension and/or a disruption of pay!
What to Do to Return to Work

     • Ifindicated
           the circumstances of your leave change and you are able to return to work earlier than the date
                   in this letter:
              • Contactyour
                Notify        Employer at least 2 business days prior to the date you intend to report for work.
              • least 2 businessphone
                         me   by        at 877-315-9838, Extension 40324 or email lee.segno@matrixcos.com at
                                   days prior to the date you intend to report for work.
     • IfCare
           the leave is for your own illness, athenahealth requires a release note from your treating Health
              Provider if you return to work early or are in need of an accommodation. If your return to work
       is contingent on restrictions, then they must be clearly defined with length of the restriction indicated.
       Matrix will contact athenahealth to confirm if any restrictions can be accommodated.
     • Ifwant
          you have a disability or impairment that substantially limits one or more major life activities and
              to consider a work accommodation for your return to work, please contact
       leavesandaccommodations@athenahealth.com.
Need More Information?

If you need anything, check on your claim status, extend your leave or just ask a question, log in to
www.matrixabsence.com and interact with RITA (Your Personal Leave Assistant), check out the Matrix
eServices mobile app (search “Matrix eServices”), or contact me at the phone number or email address below.
Matrix Absence Management, Inc.
2421 West Peoria Ave, Suite 200
Phoenix, AZ 85029
Confidential Fax: 866-683-9548
Phone: 877-315-9838, Extension 40324
Email: lee.segno@matrixcos.com
Lee Segno, Integrated Claims Examiner
Matrix Absence Management, Inc. on behalf of
Benefits Department, athenahealth
Enclosed:
Employee Instructions for Reporting Intermittent Time Off of Work (if applicable)
                 Case 1:23-mi-99999-UNA Document 85-1 Filed 01/10/23 Page 4 of 4



IMATRIX
 ABSENCE MANAGEMENT
 A. MIMIIR   OF THI   TOKIO   MARINI   G ■ OUP




                              INSTRUCTIONS FOR REPORTING INTERMITTENT TIME OFF FROM WORK
                                                   FOR INTERMITTENT LEAVES ONLY

In addition to your employer’s regular absence management policy, intermittent time off from work relating to your leave must
be reported to Matrix Absence Management on a timely basis, within the guidelines set by your employer. You may report time
off to Matrix by the following methods:
     • Through your Matrix eServices Account on the web
     • Through your Matrix eServices Account on your IOS or Android mobile device
     • By Calling the Matrix Interactive Voice Response System (IVR)

     NOTE: If the time you request for leave is not approved you will receive a letter from Matrix explaining the reason(s). You
     will not receive a letter if your time is approved.

Creating a Matrix eServices Account
    1. On the Web: go to www.matrixabsence.com and Select “Create an Account”.
    2. On your Mobile Device download Matrix eServices Mobile App from Google Play or the ITunes App Store. Select
         “Create an Account” from the login screen.
    3. Enter your: Last Name, Date of Birth, Last four (4) digits of your Social Security Number and Home Zip Code.
    4. Create your User Name and Password (A personal email address is recommended for User Name).

Reporting Intermittent Absence Time on the Web
    1. Login to Matrix eServices (www.matrixabsence.com) using your username and password.
    2. Select the option to Report Intermittent Absence.
    3. From the list of leaves, select the leave you are reporting time against.
    4. Enter the Start Date and End Date of your absence.
    5. Enter the Total Time Off for that day -- EXAMPLE: 2 hours off in the morning and 1 hour in the afternoon, absence for
        that day must be entered as a total of 3 hours off.
        Save entry and record the System Confirmation Number for future reference
        NOTE: Contact your Integrated Claims Examiner for special situations, adjustments or corrections.

Report Intermittent Absence Time using your Mobile Device
    1. Login to the Matrix eServices Mobile App and select the appropriate claim to report intermittent time.
    2. From the list of leaves, select the leave you are reporting time against.
    3. Select the option to Report Intermittent Absence/Report more time off.
    4. Enter the Start Date and End Date of your absence.
    5. Enter the Total Time Off for that day -- EXAMPLE: 2 hours off in the morning and 1 hour in the afternoon, absence for
         that day must be entered as a total of 3 hours off.
         Save entry and record the System Confirmation Number for future reference.
         NOTE: Contact your Integrated Claims Examiner for special situations, adjustments or corrections.

Reporting intermittent time by calling the Matrix Interactive Voice Response System (IVR)
    1. You can report your intermittent absences by calling the number provided by your employer or by calling
        1(888) 477-5110.
    2. Identify yourself by providing your Date of Birth (DOB) and last four (4) digits of your Social Security Number.
    3. Select the option to report Intermittent Time Off.
    4. Select the leave you are reporting this time against.
    5. Enter the Start Date and End Date of your absence.
    6. Enter the Start Time of your absence.
    7. Enter the Total Hours absent for that day -- EXAMPLE: 2 hours off in the morning and 1 hour in the afternoon, absence
        for that day must be entered as a total of 3 hours off.
    8. Save entry and record the System Confirmation Number for future reference.
        NOTE: Contact your Integrated Claims Examiner for special situations, adjustments or corrections.


Matrix Absence Management – IAR Instructions (new platform) – 6/8/2015
